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 8                                  UNITED STATES DISTRICT COURT
                                   WESTERN DISTRICT OF WASHINGTON
 9                                           AT TACOMA

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11      SAY SULIN KEODARA,                                     CASE NO. 3:21-cv-05129-TL-TLF
12                                Plaintiff(s),
                  v.
                                                               ORDER ADOPTING REPORT
                                                               & RECOMMENDATION
13
        JERI BOE et al,
14
                                  Defendant(s).
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17          The Court, having reviewed the Report and Recommendation (Dkt. No. 54) of Judge

18   Theresa L. Fricke, United States Magistrate Judge, and the relevant record, and there being no

19   objection to the Report and Recommendation that was filed as of the date of this Order, does

20   hereby find and ORDER:

21          (1)        The Court ADOPTS the Report and Recommendation (Dkt. No. 54);

22          (2)        Plaintiff’s motion for leave to amend his complaint (Dkt. 49) is DENIED without

23                     prejudice; and

24

     ORDER ADOPTING REPORT
     & RECOMMENDATION - 1
            Case 3:21-cv-05129-TL-TLF Document 56 Filed 06/21/22 Page 2 of 2




 1          (3)    Plaintiff is GRANTED thirty (30) days (until July 21, 2022), to file a corrected

 2                 motion for leave to amend his complaint. If Plaintiff does not file a motion for

 3                 leave to amend his complaint by this date, the Court will consider Plaintiff’s

 4                 complaint at Docket No. 8 to be the operative complaint in the action.

 5          Dated this 21st day of June 2022.

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                                                         A
                                                         Tana Lin
                                                         United States District Judge
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     ORDER ADOPTING REPORT
     & RECOMMENDATION - 2
